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   9
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  11   [Additional counsel appear on following page.]
  12                             UNITED STATES DISTRICT COURT
  13                            CENTRAL DISTRICT OF CALIFORNIA
  14
  15   PETER GUZMAN AND MARIA                                  Case No.      CV08-01327 GHK (SSx)
       CARBAJAL,
  16                                                           MEMORANDUM OF POINTS
                              Plaintiffs,                      AND AUTHORITIES IN
  17                                                           SUPPORT OF PLAINTIFFS’
              v.
  18                                                           MOTION TO APPROVE THE
       UNITED STATES OF AMERICA;                               ESTABLISHMENT OF THE
  19   JAMES T. HAYES, Field Office Director,                  GUZMAN CARBAJAL
       U.S. Immigration and Customs                            QUALIFIED SETTLEMENT
  20   Enforcement; PILAR GARCIA, Agent,                       FUND
       U.S. Immigration and Customs
  21   Enforcement; COUNTY OF LOS                              Date:         June 7, 2010
       ANGELES; LEROY BACA, Sheriff of                         Time:         9:30 a.m.
  22   the County of Los Angeles; TIMOTHY
       CORNELL, Captain of Los Angeles                         Judge:        Hon. George H. King
  23   County Inmate Reception Center;                         Place:        Courtroom 650
       SANDRA FIGUERAS, Custodial
  24   Assistant, Los Angeles County Sheriff’s                 Action Filed:         February 27, 2008
       Department; DOE ICE AGENTS 1–10;
  25   and DOE LASD OFFICERS 1–10,                             Trial Date:           None set
  26                          Defendants.
  27
  28
       MPA I/S/O PLS.’ MOT. TO APPROVE THE ESTABLISHMENT OF THE GUZMAN CARBAJAL QUALIFIED SETTLEMENT FUND
       CASE NO. CV08-01327 GHK (SSX)
       sf-2803723
Case 2:08-cv-01327-GHK-SS Document 168 Filed 05/04/10 Page 2 of 6 Page ID #:1990



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       MPA I/S/O PLS.’ MOT. TO APPROVE THE ESTABLISHMENT OF THE GUZMAN CARBAJAL QUALIFIED SETTLEMENT FUND
       CASE NO. CV08-01327 GHK (SSX)
       sf-2803723
Case 2:08-cv-01327-GHK-SS Document 168 Filed 05/04/10 Page 3 of 6 Page ID #:1991



   1          Plaintiffs Peter Guzman and Maria Carbajal, by and through their counsel,
   2   seek the Court’s approval to designate the portion of Morrison & Foerster Client
   3   Trust Account that receives the settlement proceeds described below as the Guzman
   4   Carbajal Qualified Settlement Fund.
   5          I.      THE PROPOSED QUALIFIED SETTLEMENT FUND
   6          The parties have entered into a settlement agreement to resolve this dispute.
   7   Defendants have agreed to pay to Morrison Foerster Client Trust Account the sum
   8   of Three Hundred Fifty Thousand Dollars ($350,000.00) in full settlement and
   9   discharge of all of the claims against the Defendants that are the subject of this
  10   lawsuit. Plaintiffs seek this Court’s approval to designate the portion of Morrison
  11   & Foerster Client Trust Account that receives the settlement proceeds described
  12   below as the Guzman Carbajal Qualified Settlement Fund, as required by Treas.
  13   Reg. Section 1.468B-1. The Guzman Carbajal Qualified Settlement Fund will be
  14   governed by the Terms of the Guzman Carbajal Qualified Settlement Fund attached
  15   to this Memorandum as Exhibit 1.
  16          The Guzman Carbajal Qualified Settlement Fund will receive the sum of
  17   Three Hundred Fifty Thousand Dollars ($350,000.00) from the Defendants and
  18   hold that sum until the Administrator of the Guzman Carbajal Qualified Settlement
  19   Fund and Peter Guzman and Maria Carbajal have reached agreement as to how that
  20   sum is to be disbursed for settlement amounts (either as lump sums or as periodic
  21   future payments), costs and liens, subject to further approvals of this Court, if
  22   required.
  23          The Guzman Carbajal Qualified Settlement Fund will be administered by
  24   Somnath Raj Chatterjee of Morrison & Foerster, 425 Market Street. San Francisco,
  25   California 94105-2482 (telephone: 415.268.7000; facsimile: 415.268.7522). The
  26   Guzman Carbajal Qualified Settlement Fund and its Administrator will remain
  27   subject to the continuing jurisdiction of this Court until the Guzman Carbajal
  28   Qualified Settlement Fund terminates by its terms.
       MPA I/S/O PLS.’ MOT. TO APPROVE THE ESTABLISHMENT OF THE GUZMAN CARBAJAL QUALIFIED SETTLEMENT FUND   1
       CASE NO. CV08-01327 GHK (SSX)
       sf-2803723
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   1          II.     ESTABLISHMENT OF A QUALIFIED SETTLEMENT FUND
                      IS APPROPRIATE
   2
   3          Approval by the Court of the establishment of the Guzman Carbajal
   4   Qualified Settlement Fund is appropriate. It best serves the interests of Plaintiffs
   5   Peter Guzman and Maria Carbajal by assuring that they receive the full benefit of
   6   the $350,000.00 settlement agreed to by Defendants. Mr. Guzman was wrongfully
   7   deported by Defendants and continues to suffer a number of psychological and
   8   emotional injuries as a result. Mr. Guzman currently receives medical and
   9   psychological care for these injuries and that care is paid for by a combination of
  10   Medi-Cal and Supplemental Security Income (“SSI”). Disruption of this care could
  11   injure Mr. Guzman. Use of a qualified settlement fund to hold the settlement
  12   proceeds until Plaintiffs decide what to do with them will ensure that Mr. Guzman’s
  13   Medi-Cal and SSI benefits, as well as his treatment, continue during the time
  14   Plaintiffs are considering their options.
  15          Plaintiffs have discussed the use of a qualified settlement fund to resolve this
  16   action with Defendants and Magistrate Judge Segal in status conferences held on
  17   March 15, 2010, and April 5, 2010.
  18          III.    THE PROPOSED QUALIFIED SETTLEMENT FUND
                      SATISFIES THE RELEVANT TREASURY REGULATIONS
  19
  20          In 1992, the Internal Revenue Service published rules permitting the creation
  21   of a taxable entity known as a qualified settlement fund to resolve lawsuits arising
  22   out of a tort, breach of contract, or violation of law. See Treas. Reg. § 1.468B-1 (26
  23   C.F.R. § 1.468B-1) (1992). Qualified settlement funds allow defendants to
  24   extinguish their liability by paying into the fund, leaving plaintiffs to work out how
  25   to distribute the fund itself. While the settlement proceeds are held in the qualified
  26   settlement fund, they are not counted as income or resources for the purposes of
  27   determining Medi-Cal or SSI eligibility.
  28
       MPA I/S/O PLS.’ MOT. TO APPROVE THE ESTABLISHMENT OF THE GUZMAN CARBAJAL QUALIFIED SETTLEMENT FUND   2
       CASE NO. CV08-01327 GHK (SSX)
       sf-2803723
Case 2:08-cv-01327-GHK-SS Document 168 Filed 05/04/10 Page 5 of 6 Page ID #:1993



   1          Under Treasury Regulation Section 1.468B-1, a fund, account, or trust will
   2   be treated as a qualified settlement fund if:
   3                  (1) It is established pursuant to an order of . . . a court of
   4                  law . . . and is subject to the continuing jurisdiction of that
   5                  governmental authority;
   6                  (2) It is established to resolve or satisfy one or more . . .
   7                  claim[s] asserting liability . . . [a]rising out of a tort,
   8                  breach of contract, or violation of law; . . . ; and
   9                  (3) The fund, account, or trust is a trust under applicable
  10                  state law, or its assets are otherwise segregated from other
  11                  assets of the transferor (and related persons).
  12   Treas. Reg. § 1.468B-1(c); see also United States v. Brown, 348 F.3d 1200, 1208-
  13   15 (10th Cir. 2003) (discussing requirements of Section 1.468B-1). United States
  14   District Courts routinely approve and exercise jurisdiction over qualified settlement
  15   funds. See, e.g., Jaffe v. Morgan Stanley & Co., No. C 06-3903, 2008 U.S. Dist.
  16   LEXIS 12208, *98 (N.D. Cal. Feb. 7, 2008) (designating bank account to contain
  17   settlement proceeds as a qualified settlement fund); see also In re Asarco LLC, No.
  18   09-CV-177, 2009 U.S. Dist. LEXIS 121615, *138 (S.D. Tex. Nov. 13, 2009) (trust
  19   created and designated as qualified settlement fund); In re Publ’n Paper Antitrust
  20   Litig., No. 3:04-MD-1631, 2009 U.S. Dist. LEXIS 66654, *21 (D. Conn. July 30,
  21   2009) (escrow account established by parties approved as qualified settlement
  22   fund); SEC v. Behrens, No. 8:08CV13, 2008 U.S. Dist. LEXIS 61493, *10 (D. Neb.
  23   July 28, 2008) (disgorgement fund to be maintained as a qualified settlement fund).
  24          Designation of the portion of the Morrison & Foerster Client Trust Account
  25   that receives the settlement proceeds described above as the Guzman Carbajal
  26   Qualified Settlement Fund will satisfy the three requirements of Treasury
  27   Regulation Section 1.468B-1(c) by: (a) being designated pursuant to the approval of
  28   this Court, (b) resolving and satisfying one or more tort claims against the
       MPA I/S/O PLS.’ MOT. TO APPROVE THE ESTABLISHMENT OF THE GUZMAN CARBAJAL QUALIFIED SETTLEMENT FUND   3
       CASE NO. CV08-01327 GHK (SSX)
       sf-2803723
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   1   Defendants,1 and (c) constituting a segregated account, all as required by those
   2   regulations.
   3          IV.     CONCLUSION
   4          For the above reasons, Plaintiffs request that the Court approve the
   5   establishment of the Guzman Carbajal Qualified Settlement Fund attached hereto as
   6   Exhibit 1.
   7
       Dated:       May 4, 2010                     JAMES J. BROSNAHAN
   8                                                SOMNATH RAJ CHATTERJEE
                                                    SAMUEL J. BOONE LUNIER
   9                                                MORRISON & FOERSTER LLP
  10
  11                                                By:     /s/ Samuel J. Boone Lunier
                                                            Samuel J. Boone Lunier
  12
                                                            Attorneys for Plaintiffs Peter Guzman
  13                                                        and Maria Carbajal
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  26           Plaintiffs have alleged tort claims in this action, including claims for
       negligence, false imprisonment, intentional infliction of emotional distress, as well
  27   as several Constitutional torts, all of which are being resolved via the Stipulation
       for Compromise.
  28
       MPA I/S/O PLS.’ MOT. TO APPROVE THE ESTABLISHMENT OF THE GUZMAN CARBAJAL QUALIFIED SETTLEMENT FUND   4
       CASE NO. CV08-01327 GHK (SSX)
       sf-2803723
